805 F.2d 371
    Edgar E. OLIVER, Petitioner-Appellant,v.Louie L. WAINWRIGHT and Jim Smith, Respondents-Appellees.Edgar E. OLIVER, Petitioner-Appellant,v.Louie L. WAINWRIGHT, Respondent-Appellee.
    Nos. 84-5821, 84-5911.
    United States Court of Appeals,Eleventh Circuit.
    Dec. 3, 1986.
    
      Margaret S. Brodsky, Miami, Fla., for petitioner-appellant.
      Jim Smith, Atty. Gen., Dept. of Legal Affairs, Tallahassee, Fla., Davis G. Anderson, Asst. Atty. Gen., Tampa, Fla., Calvin L. Fox, Asst. Atty. Gen., Miami, Fla., for respondents-appellees.
      Appeals from the United States District Court for the Southern District of Florida;  Sidney M. Aronovitz, Judge.
      Before FAY, CLARK and NIES*, Circuit Judges.
      ON PETITION FOR REHEARING
      (Opinion August 11, 1986, 11 Cir., 1986, 795 F.2d 1524)
      PER CURIAM:
    
    
      1
      Subsequent to our opinion of August 11, 1986, and in its Petition for Rehearing, the state concedes that there was no appealable state court order on Oliver's application for relief under Fla.R.Crim.P. 3.850, State Petition for Rehearing at 9.
    
    
      2
      The state urges that we hold our opinion in abeyance pending Oliver's exhaustion of his state remedy.  The state by a supplemental filing has sent an order of the state trial court denying Oliver Rule 3.850 relief.
    
    
      3
      We determine that this matter should be finalized insofar as our court is concerned.  The Petition for Rehearing is DENIED.  The parties may seek such further relief as they deem necessary in the federal court system after completion of the state court proceeding.
    
    
      4
      DENIED.
    
    
      
        *
         Honorable Helen W. Nies, U.S. Circuit Judge for the Federal Circuit, sitting by designation
      
    
    